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                          United States District Court
                          Northern District of Georgia
                              Gainesville Division


 Fair Fight, Inc., Scott Berson, Jocelyn
 Heredia, and Jane Doe,

         Plaintiffs and Counter-Defendants,
       v.                                   Civ. No. 2:20-cv-00302-SCJ

 True the Vote, Inc., Catherine           Hon: Steve C. Jones
 Engelbrecht, Derek Somerville, Mark
 Davis, Mark Williams, Ron Johnson,
 James Cooper, and John Does 1-10,
                              Defendants,

 Fair Fight Action, Inc.,and Ms. Stacey
 Abrams,

              Defendants to Counterclaim.

Defendants’ Answer to Plaintiffs’ First Amended Complaint for Declaratory
  and Injunctive Relief, Affirmative Defenses, and Verified Counterclaim
 Against Plaintiffs and Defendants Fair Fight Action, Inc. and Ms. Stacey
                                  Abrams

      Defendants True the Vote, Inc., Catherine Engelbrecht, Derek Somerville,

Mark Davis, Mark Williams, Ron Johnson, and James Cooper (collectively,

“Defendants”) through undersigned counsel, respond as follows to the First

Amended Complaint for Declaratory and Injunctive Relief. Everything not

responded to in a specific response is denied.

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      1.     Defendants deny the averments and allegations in paragraph 1.

      2.     Defendants deny the averments and allegations in paragraph 2.

      3.     Defendants deny the averments and allegations in paragraph 3.

      4.     Defendants deny the averments and allegations in paragraph 4.

      5.     Defendants deny the averments and allegations in paragraph 5.

      6.     Defendants deny the averments and allegations in paragraph 6.

      7.     Defendants deny the averments and allegations in paragraph 7.

      8.     Defendants deny the averments and allegations in paragraph 8.

      9.     Defendants deny the averments and allegations in paragraph 9.

      10.    Defendants deny the averments and allegations in paragraph 10.

      11.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in the first sentence of

paragraph 11. Defendants deny the remaining averments and allegations in

paragraph 11.

      12.    Defendants deny the averments and allegations in paragraph 12.

      13.    Defendants deny the averments and allegations in paragraph 13.

      14.    Defendants deny the averments and allegations in paragraph 14.

      15.    Defendants are without knowledge or information sufficient to form a



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belief as to the truth of the averments and allegations in paragraph 15.

      16.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in paragraph 16.

      17.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in paragraph 17.

      18.    Defendants admit that Defendant True the Vote, Inc. is a 501(c)(3)

organization and is incorporated in Texas. Defendants deny the remaining

averments and allegations in paragraph 18.

      19.    Defendants admit that Catherine Engelbrecht is a resident of Texas.

Defendants deny the remaining averments and allegations in paragraph 19.

      20.    Defendants admit that Derek Somerville is a resident of Forsyth

County, Georgia. Defendants deny the remaining averments and allegations in

paragraph 20.

      21.    Defendants admit that Mark Davis is a resident of Gwinnett County,

Georgia. Defendants deny the remaining averments and allegations in paragraph

21.

      22.    Defendants admit that Mark Williams is a resident of Gwinnett

County, Georgia. Defendants deny the remaining averments and allegations in



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paragraph 22.

      23.      Defendants admit that Ron Johnson is a resident of Jackson County,

Georgia. Defendants deny the remaining averments and allegations in paragraph

23.

      24.      Defendants admit that Defendant James Cooper is a resident of

Walton County, Georgia. Defendants deny the remaining averments and

allegations in paragraph 24.

      25.      Defendants deny the averments and allegations in paragraph 25.

      26.      Defendants admit that the Court has subject matter jurisdiction over

this action.

      27.      Defendants admit that this court has personal jurisdiction over

Defendants in this matter, but deny that Defendants have caused tortious injury in

this state. Defendants deny the remaining averments and allegations in paragraph

27.

      28.      Defendants admit that venue is proper in the Northern District of

Georgia.

      29.      Defendants deny the averments and allegations in paragraph 29.

      30.      Defendants deny the averments and allegations in paragraph 30.



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      31.    Defendants deny the averments and allegations in paragraph 31.

      32.    Defendants deny the averments and allegations in paragraph 32.

      33.    Defendants deny the averments and allegations in paragraph 33.

      34.    Defendants deny the averments and allegations in paragraph 34.

      35.    Defendants deny the averments and allegations in paragraph 35.

      36.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in paragraph 36.

      37.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in paragraph 37.

      38.    Defendants deny the averments and allegations in paragraph 38.

      39.    Defendants deny the averments and allegations in paragraph 39.

      40.    Defendants deny the averments and allegations in paragraph 40.

      41.    Defendants deny the averments and allegations in paragraph 41.

      42.    Defendants admit that Defendants Ron Johnson and Mark Williams

brought challenges under Georgia’s Elector Challenge provision in the county in

which they reside. Defendants deny the remaining averments and allegations in

paragraph 42.

      43.    Defendants admit that, in Defendant True the Vote, Inc.’s press



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release that Defendant True the Vote, Inc. described the Elector Challenges

brought throughout Georgia as a “landmark” effort, and said that 364,000

Georgians were “potentially ineligible” to vote in the runoff election by, in part,

comparing Georgia’s voter registration database to United States Postal Service’s

National Change of Address (NCOA) registry.

      44.    Defendants deny the averments and allegations in the first sentence of

paragraph 44. The remaining allegations state legal conclusions to which no

response is required. To the extent that a response is required, Defendants deny the

remaining averments and allegations in paragraph 44.

      45.    Paragraph 45 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 45.

      46.    Paragraph 46 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 46.

      47.    Paragraph 47 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 47.



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      48.   Paragraph 48 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 48.

      49.   Defendants deny the averments and allegations in paragraph 49.

      50.   Defendants deny the averments and allegations in paragraph 50.

      51.   Defendants deny the averments and allegations in paragraph 51.

      52.   The first sentence of Paragraph 52 states a legal conclusion to which

no response is required. To the extent that a response is required, Defendants deny

the averments and allegations in the first sentence of paragraph 52. Defendants

deny the remaining averments and allegations in paragraph 52.

      53.   Defendants deny the averments and allegations in paragraph 53.

      54.   Paragraph 54 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 54.

      55.   Paragraph 55 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 55.

      56.   Defendants deny the averments and allegations in paragraph 56.



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      57.    Defendants deny the averments and allegations in paragraph 57.

      58.    Defendants deny the averments and allegations in paragraph 58.

      59.    Defendants deny the averments and allegations in paragraph 59.

      60.    Defendants deny the averments and allegations in paragraph 60.

      61.    Defendants deny the averments and allegations in paragraph 61.

      62.    Defendants deny the averments and allegations in paragraph 62.

      63.    Defendants deny the averments and allegations in paragraph 63.

      64.    Defendants deny the averments and allegations in paragraph 64.

      65.    Defendants deny the averments and allegations in paragraph 65.

      66.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in paragraph 66.

      67.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in paragraph 67.

      68.    Defendants are without knowledge or information sufficient to form a

belief as to the truth of the averments and allegations in paragraph 68.

      69.    Defendants deny the averments and allegations in paragraph 69.

      70.    Defendants deny the averments and allegations in paragraph 70.

      71.    Defendants deny the averments and allegations in paragraph 71.



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      72.   Paragraph 72 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 72.

      73.   Paragraph 73 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 73.

      74.   Defendants deny the averments and allegations in paragraph 74.

      75.   Paragraph 75 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 75.

      76.   Paragraph 76 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 76.

      77.   Paragraph 77 realleges and reincorporates Plaintiffs allegations in

paragraphs 1-76, to which Defendants maintain all previous responses thereto.

      78.   Paragraph 78 states a legal conclusion to which no response is

required. To the extent that a response is required, Defendants deny the averments

and allegations in paragraph 78.



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      79.     Defendants deny the averments and allegations in paragraph 79.

      80.     Defendants deny that Plaintiffs are entitled to the relief requested in

paragraph 80.

      81.     Defendants deny that Plaintiffs are entitled to the relief requested in

the Prayer for Relief on pages 29-30.

  Defendants’ Affirmative Defenses to Plaintiffs’ First Amended Complaint

      82.     Plaintiffs fail to state a claim upon which relief can be granted.

      83.     Plaintiffs lack Article III standing to bring their claims against

Defendants.

      84.     Defendants’ conduct lawfully employed a lawful procedure without

any racial animus, intent to intimidate, or wrongful conduct, and thus, did not

violate Section 11(b) of the Voting Rights Act.

      85.     Defendants did not engage in, nor directed any person to engage in,

voter intimidation as under Section 11(b) of the Voting Rights Act.

      86.     Defendants’ activities are constitutionally protected under the First

Amendment’s right of free speech, to petition the government and to vote.

      87.     Defendant Catherine Engelbrecht is an individual and is therefore not

personally liable for the corporate actions of True the Vote, Inc., and is therefore



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improperly named as a Defendant.

      88.    Defendant Derek Somerville is not connected in any way with

Defendant True the Vote, Inc. or its activities or any other parties or actions

alleged by Plaintiffs, and is improperly named as a Defendant.

      89.    Defendant Mark Davis is not connected in any way with Defendant

True the Vote, Inc. or its activities or any other parties or actions alleged by

Plaintiffs, and is improperly named as a Defendant.

      90.    Defendants’ lawful Section 230 challenges do not violate the National

Voter Registration Act.

      91.    Judicial enforcement of Section 11(b) of the Voting Rights Act of

1965, 52 U.S.C. § 10307(b), as sought to be applied by Plaintiffs, is

unconstitutional under the First Amendment.

      92.    Judicial enforcement of Section 11(b) of the Voting Rights Act of

1965, 52 U.S.C. § 10307(b), as sought to be applied by Plaintiffs,

unconstitutionally violates Defendants’ right to vote via vote dilution.

      93.    Judicial enforcement of Section 11(b) of the Voting Rights Act of

1965, 52 U.S.C. § 10307(b), as sought to be applied by Plaintiffs, is

unconstitutionally vague.


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        94.   Defendants do not waive any of the affirmative defenses delineated in

the court rules and expressly reserve their right to assert any of these defenses to

the extent further factual investigation discloses their applicability.

        95.   Defendants reserve the right to add any additional affirmative

defenses that may become known to them during the course of discovery or

otherwise.

Defendants’ Verified Counterclaim Against Counter-Defendants and Verified
                   Claim Against Additional Defendants

        Counter-Plaintiffs True the Vote, Inc., Mark Williams, and Ron Johnson,

and James Cooper complain as follows:

                              Jurisdiction and Venue

        96.   This action arises under the First and Fifth Amendments to the U.S.

Constitution, and Section 11(b) of the Voting Rights Act.

        97.   This Court has subject matter jurisdiction over the Counter-Plaintiffs’

claims pursuant to 28 U.S.C. § 1331 (federal question). It also has jurisdiction

pursuant to the Declaratory Judgment Act as codified at 28 U.S.C. §§ 2201 and

2202.

        98.   Venue is proper under Venue is proper in the Northern District of

Georgia under 28 U.S.C. § 1391, because the events giving rise to the claim

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occurred within this district and division.

      99.    This Court has the authority to enter declaratory relief under Rule 57

of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202.

                                      Parties

      100. Counter-Plaintiff True the Vote, Inc. is a non-profit corporation

incorporated under the laws of Texas.

      101. Counter-Plaintiff Mark Williams is an eligible and registered voter,

who was qualified to and did vote for a Senate candidate in the January 5, 2021,

runoff election in this State. Mr. Williams is a resident of Gwinnett County,

Georgia.

      102. Counter-Plaintiff Ron Johnson is an eligible and registered voter, who

was qualified to and did vote for a Senate candidate in the January 5, 2021 runoff

election in this State. Mr. Johnson is a resident of Jackson County, Georgia.

      103. Counter-Plaintiff James Cooper is an eligible and registered voter,

who was qualified to and did vote for a Senate candidate in the January 5, 2021

runoff election in this State. Mr. Cooper is a resident of Walton County, Georgia.

      104. Counter-Defendant Fair Fight, Inc. is a domestic nonprofit

corporation based in Georgia, is a federally-register political action committee,


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shares a website with Defendant Fair Fight Action, Inc. and is a Plaintiff to this

action. Counter-Defendant Fair Fight, Inc. has intimidated Counter-Plaintiffs, and

their agents, in violation of § 11(b) of the Voting Rights Act.

      105. Defendant Fair Fight Action, Inc. is a domestic nonprofit corporation

based in Georgia, is engaged in “voter mobilization and education activities and

advocates for progressive issues,” https://fairfight.com/about-fair-fight/, and

shares a website with Counter-Defendant Fair Fight, Inc.

      106. Stacey Abrams is the founder of Counter-Defendant Fair Fight, Inc.

and is listed as the Chair of Defendant Fair Fight Action, Inc.,

https://fairfight.com/our-team/, and, upon information and belief, speaks on behalf

of Counter-Defendant Fair Fight, Inc. and Defendant Fair Fight Action, Inc., as

well as individually on election-related issues.

      107. Defendants Fair Fight Action, Inc. and Stacey Abrams have

intimidated Counter-Plaintiffs, and their agents, in violation of § 11(b) of the

Voting Rights Act and, upon information and belief, have assisted and acted in

concert with Counter-Defendant Fair Fight, Inc. in the intimidation of Counter-

Plaintiffs, and their agents, in violation of § 11(b) of the Voting Rights Act.




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                                        Facts

Georgia Eligibility Requirements

      108. A person may not vote in an Georgia election unless they are “[a]

resident of this state and of the county or municipality in which he or she seeks to

vote[.]” O.C.G.A. § 21-2-216(a). See also O.C.G.A. § 21-2-217 (detailing the rules

for determining residency).

Challenge of Right of Electors to Vote by Other Electors

      109. Accordingly, Georgia law sets out a process for challenging an

elector’s right to vote in an election, providing that:

      Any elector of the county or municipality may challenge the right of any
      other elector of the county or municipality, whose name appears on the
      list of electors, to vote in an election. Such challenge shall be in writing
      and specify distinctly the grounds of such challenge. Such challenge
      may be made at any time prior to the elector whose right to vote is being
      challenged voting at the elector's polling place or, if such elector cast an
      absentee ballot, prior to 5:00 P.M. on the day before the election;
      provided, however, that challenges to persons voting by absentee ballot
      in person at the office of the registrars or the absentee ballot clerk shall
      be made prior to such person’s voting.

O.C.G.A. § 21-2-230(a).

      110. These challenges do not result in an automatic disqualification of the

challenged elector, but triggers a statutory procedure where the county election

board must take further steps to verify the challenged elector’s current eligibility

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to vote in the run-off election.

      111. Once such a challenge has been made, the law requires that “the

board of registrars shall immediately consider such challenge and determine

whether probable cause exists to sustain such challenge.” O.C.G.A. § 21-2-230(b).

      112. A challenge may be denied if probable cause does not exist. O.C.G.A.

§ 21-2-230(b).

      113. On the other hand, “[i]f the registrars find probable cause, the

registrars shall notify the poll officers of the challenged elector’s precinct or, if the

challenged elector voted by absentee ballot, notify the poll officers at the absentee

ballot precinct and, if practical, notify the challenged elector and afford such

elector an opportunity to answer.” O.C.G.A. § 21-2-230(b).

      114. The law then makes clear the steps that should be taken with regards

to a challenged elector. They are as follows:

      (a)    If the challenged elector appears at the polling place to vote, such
             elector shall be given the opportunity to appear before the
             registrars and answer the grounds of the challenge.
      (b)    If the challenged elector does not cast an absentee ballot and does
             not appear at the polling place to vote and if the challenge is
             based on grounds other than the qualifications of the elector to
             remain on the list of electors, no further action by the registrars
             shall be required.
      (c)    If the challenged elector cast an absentee ballot and it is not
             practical to conduct a hearing prior to the close of the polls and

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           the challenge is based upon grounds other than the qualifications
           of the elector to remain on the list of electors, the absentee ballot
           shall be treated as a challenged ballot pursuant to subsection (e)
           of Code Section 21-2-386. No further action by the registrars
           shall be required.
     (d)   If the challenged elector does not cast an absentee ballot and does
           not appear at the polling place to vote and the challenge is based
           on the grounds that the elector is not qualified to remain on the
           list of electors, the board of registrars shall proceed to hear the
           challenge pursuant to Code Section 21-2-229.
     (e)   If the challenged elector cast an absentee ballot and the challenge
           is based upon grounds that the challenged elector is not qualified
           to remain on the list of electors, the board of registrars shall
           proceed to conduct a hearing on the challenge on an expedited
           basis prior to the certification of the consolidated returns of the
           election by the election superintendent. The election
           superintendent shall not certify such consolidated returns until
           such hearing is complete and the registrars have rendered their
           decision on the challenge. If the registrars deny the challenge, the
           superintendent shall proceed to certify the consolidated returns.
           If the registrars uphold the challenge, the name of the challenged
           elector shall be removed from the list of electors and the ballot of
           the challenged elector shall be rejected and not counted and, if
           necessary, the returns shall be adjusted to remove any votes cast
           by such elector. The elector making the challenge and the
           challenged elector may appeal the decision of the registrars in the
           same manner as provided in subsection (e) of Code Section
           21-2-229.
     (f)   If the challenged elector appears at the polls to vote and it is
           practical to conduct a hearing on the challenge prior to the close
           of the polls, the registrars shall conduct such hearing and
           determine the merits of the challenge. If the registrars deny the
           challenge, the elector shall be permitted to vote in the election
           notwithstanding the fact that the polls may have closed prior to
           the time the registrars render their decision and the elector can
           actually vote, provided that the elector proceeds to vote

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           immediately after the decision of the registrars. If the registrars
           uphold the challenge, the challenged elector shall not be
           permitted to vote and, if the challenge is based upon the grounds
           that the elector is not qualified to remain on the list of electors,
           the challenged elector’s name shall be removed from the list of
           electors.
     (g)   If the challenged elector appears at the polls to vote and it is not
           practical to conduct a hearing prior to the close of the polls or if
           the registrars begin a hearing and subsequently find that a
           decision on the challenge cannot be rendered within a reasonable
           time, the challenged elector shall be permitted to vote by casting
           a challenged ballot on the same type of ballot that is used by the
           county or municipality for provisional ballots. Such challenged
           ballot shall be sealed in double envelopes as provided in
           subsection (a) of Code Section 21-2-419 and, after having the
           word “Challenged,” the elector's name, and the alleged cause of
           the challenge written across the back of the outer envelope, the
           ballot shall be deposited by the person casting such ballot in a
           secure, sealed ballot box notwithstanding the fact that the polls
           may have closed prior to the time the registrars make such a
           determination, provided that the elector proceeds to vote
           immediately after such determination of the registrars. In such
           cases, if the challenge is based upon the grounds that the
           challenged elector is not qualified to remain on the list of electors,
           the registrars shall proceed to finish the hearing prior to the
           certification of the consolidated returns of the election by the
           election superintendent. If the challenge is based on other
           grounds, no further action shall be required by the registrars. The
           election superintendent shall not certify such consolidated returns
           until such hearing is complete and the registrars have rendered
           their decision on the challenge. If the registrars deny the
           challenge, the superintendent shall proceed to certify the
           consolidated returns. If the registrars uphold the challenge, the
           name of the challenged elector shall be removed from the list of
           electors and the ballot of the challenged elector shall be rejected
           and not counted and, if necessary, the returns shall be adjusted to

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             remove any votes cast by such elector. The elector making the
             challenge and the challenged elector may appeal the decision of
             the registrars in the same manner as provided in subsection (e) of
             Code Section 21-2-229.

O.C.G.A. § 21-2-230(c)-(I).

      115. Georgia law permits two distinctly different challenges to the ability

of an ineligible elector to vote. First, the presence of the elector on the list of

electors (called under federal law “voter registration lists”) can be challenged

under O.C.G.A. § 21-2-229. No challenges were not brought under this section

since the challenges did not question the challenged electors presence on the list of

electors. Second, the eligibility of a registered elector to vote in a particular

election can be challenged under O.C.G.A. § 21-2-230. The current challenges

(discussed below) were brought under this section and only question the

challenged elector’s eligibility to vote in the run-off election and did not seek to

have the elector removed from the registration list, which, as noted, is a separate

and different challenge under Georgia law.

      116. O.C.G.A. § 21-2-230 does not trigger any National Voter Registration

Act (NRVA) provisions because it does not involve “remov[ing] the names of

ineligible voters from the official lists of eligible voters,” but, instead, questions

their right to vote in a particular election. 52 U.S.C.A. § 20507.

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      117. The National Change of Address (“NCOA”) Registry is legally

sufficient basis for taking such action. See Husted v. A. Philip Randolf Inst., 138 S.

Ct. 1833 (2018).

Probable Cause Existed to Justify the Challenges

      118. Prior to the January 5, 2021 election, valid and lawful individual

challenges were made, pursuant to O.C.G.A. § 21-2-230, challenging an

individual’s right to vote in a particular election.

      119. For example, Counter-Plaintiff Ron Johnson brought valid and lawful

individual elector challenges, challenging an individual elector’s right to vote in

the January 5, 2021, election, in Jackson County.

      120. Likewise, Counter-Plaintiff Mark Williams brought valid and lawful

individual elector challenges, challenging an individual elector’s right to vote in

the January 5, 2021, election, in Gwinnett County.

      121. These challenges stemmed from detailed research identifying

registered voters who no longer reside in the county of record and voters who no

longer reside in the state of Georgia, according to filings with the United States

Postal Service National Change of Address (NCOA) and other supporting

commercial databases.



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      122. The relied-upon research was performed uniformly across all

counties, without regard to any demographic or voting history.

      123. These challenges were made according to the requirements detailed in

O.C.G.A. § 21-2-230.

      124. Accordingly, probable cause existed here for such challenges and the

relevant Boards of Election were required to fulfill their duties as detailed in

O.C.G.A. § 21-2-230(c)-(i), determining whether each challenged elector was

eligible to vote.

      125. None of the Counter-Plaintiffs have used these challenges as a way to

harass, threaten, or intimidate any voters

      126. Other challenges, completely unrelated to Counter-Plaintiffs, were

made throughout the State of Georgia. These other challenges are not connected to

nor relevant to the challenges herein.

      127. Counter-Plaintiffs intend to engage in materially similar activity in

the future.

      128. Counter-Plaintiffs have no adequate remedy at law and will suffer

irreparable harm if relief is not granted.




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                                  Count 1
 Counter-Defendant Fair Fight, Inc. and Defendants Fair Fight Action, Inc.
                        and Stacey Abrams Violated
   Section 11(b) of the Voting Rights Act of 1965, 52 U.S.C. § 10307(b).

      129. Counter-Plaintiffs re-allege and incorporate by reference the

preceding paragraphs 1 - 128.

      130. Section 11(b) of the Voting Rights Act prohibits any person,

“whether acting under color of law or otherwise,” from acts which “intimidate,

threaten, or coerce . . . any person for voting or attempting to vote,” or any

attempted acts to do so. 52 U.S.C. § 10307(b).

      131. The Voting Rights Act gives “a broad interpretation to the right to

vote, recognizing that voting includes ‘all action necessary to make a vote

effective.’” Allen v. State Board of Elections, 89 S.Ct. 817, 831-832 (1969) (citing

52 U.S.C. § 10310(c)(1)).

      132. Counter-Plaintiffs brought the Section 230 challenges to protect their

right to vote from vote dilution. Since the right to vote can be denied by vote

dilution, as well as by a prohibition on the right to vote, any intimidation or threat

based upon a voter’s attempt to protect his or her vote from dilution would violate

Section 11(b).

      133. In this current political environment of doxing, harassment, and death

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threats brought about, in part, by Counter-Defendant Fair Fight, Inc.’s and

Defendants Fair Fight Action, Inc.’s and Stacey Abrams’s scurrilous and baseless

allegations in their Amended Complaint, press releases and other public

communications that Counter-Plaintiffs have and are engaged in vote suppression

and voter intimidation, it is objectively reasonable that Counter-Plaintiffs are and

will be intimidated from protecting their right to vote under Section 230, or by

other means, and from advocating for the protection of their right to vote by

preventing voter fraud.

      134. In their Amended Complaint, Counter-Defendant Fair Fight, Inc.

alleges that Counter-Plaintiffs have: “attempt[ed] voter suppression and

intimidation,” Am. Compl., ECF 73, ¶1; “spearheaded a coordinated attack on

Georgia’s electoral system, threatening voters with entirely frivolous claims . . . ,”

Id., ¶ 2; committed “repeated attempts at voter suppression” by their Section 230

challenges, Id. at ¶ 7; “created an atmosphere of intimidation,” Id., ¶ 9; and “will

expose lawful Georgia voters to the threat of harassment from Defendants’

supporters.” ¶ 63.

      135. One of Counter-Defendant’s attorneys, Marc Elias, hailed an early

decision (later reversed in part) in the Majority Forward case, which involved a



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challenge to the Section 230 procedure employed in certain counties, as a “blow to

GOP voter suppression.” Kyle Cheney, Judge blocks voter purge in 2 Georgia

counties, POLITICO (Dec. 28, 2020, 11:08PM, updated Dec. 29, 2020,

10:00AM),

https://www.politico.com/news/2020/12/28/georgia-voter-rolls-senate-451820.

      136. Defendant Stacey Abrams is a spokesman for Counter-Defendant Fair

Fight, Inc. and Defendant Fair Fight Action Inc. In a CNN interview with Jake

Tapper, she stated that the Section 230 challenges were a “pretext,” were “untrue

and unfounded,” and that TTV had a “long history of voter intimidation and voter

suppression.”

https://www.cnn.com/videos/politics/2021/01/03/sotu-abrams-full.cnn.

      137. Furthermore, Ms. Abrams appeared on CNN on December 28, 2020.

During her interview, at 8:33 am, Ms. Abrams stated, “Republicans do not know

how to win without voter suppression as one of their tools. That’s why we see

True the Vote down here in Georgia challenging 364,000 voters nine days, eight

days before the election. Because voter suppression is their modus operandi.”

Source of CNN video link:

https://truethevote.org/stacey-abrams-says-voter-verification-is-voter-suppression-



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attacks-true-the-vote/.

      138. Counter-Plaintiffs have been subject to doxing, harassment, and

threats as a result of Counter-Defendant Fair Fight, Inc.’s and Defendants Fair

Fight Action, Inc.’s and Stacey Abrams’s scurrilous and baseless allegations in

public communications that Counter-Plaintiffs have and are engaged in vote

suppression and voter intimidation.

      139. For instance, Tommy Roberts, a Section 230 challenger in Ben Hill

County, Georgia, received threatening and harassing emails where he was told to

“go f[&^%] yourself!!!,” Exhibit A, Email from Steven Kearns, December 29,

2020, (un-redacted version), and that “You f[&#$]ing lowlife racist worthless

piece of s[&*%]. You f[&#$]ing purge ONE legitimate vote, a[$$]hole, and we

will f[&#$]ing string you up my your little 6 year old’s short hairs. Comprende,

d[^%)]head? You’re a f[&#$]ing pathetic uneducated inbred d[^*]do. Worthless

white garbage. YOU and your racist lowlife f[&#$]ing buddies are an

embarrassment to the country and the human race. GO f[^&*] yourself, a[$$]hole.

We are watching you[.]” Id, Email from Phil Atio, December 29, 2020, (un-

redacted version). These emails were received one day after Defendant Stacey

Abrams’s interview on CNN in which she accused True the Vote of voter



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suppression. It is objectively reasonable to believe that Ms. Abrams’s comments

directly led to the harassing emails described in this paragraph.

      140. Furthermore, it is objectively reasonable that Counter-Plaintiffs are

and will be intimidated from protecting their right to vote under Section 230, or by

other means, and from advocating for the protection of their right to vote by

preventing voter fraud, as a result of the Counter-Defendant Fair Fight, Inc.’s

filing of the instant Amended Complaint.

      141. While filing a lawsuit is typically protected under the First

Amendment as petitioning the government, Nat’l Ass’n for Advancement of

Colored People v. Button, 371 U.S. 415, 429 (1963), the First Amendment does

not protect “baseless litigation,” Bill Johnson’s Restaurants, Inc. v. NLRB, 461

U.S. 731, 743 (1983), as here.

      142. In filing their Amended Complaint, Counter-Defendant Fair Fight,

Inc. did not lawfully employ a lawful procedure since the Amended Complaint is

baseless litigation and, therefore, wrongful conduct.

      143. Counter-Defendant Fair Fight, Inc. and Defendants Fair Fight Action,

Inc.’s and Stacey Abrams’s scurrilous and baseless allegations in public

communications that Counter-Plaintiffs have and are engaged in vote suppression



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and voter intimidation were false and, therefore, wrongful conduct.

      144. Counter-Defendant Fair Fight, Inc. and Defendants Fair Fight Action,

Inc. and Stacey Abrams intended to intimidate Counter-Plaintiffs from protecting

their right to vote through their scurrilous and baseless allegations in public

communications that Counter-Plaintiffs have and are engaged in vote suppression

and voter intimidation, and Counter-Defendant Fair Fight, Inc. intended to

intimidate Counter-Plaintiffs from protecting their right to vote by filing their

Amended Complaint.

      145. Upon information and belief, Defendants Fair Fight Action, Inc. and

Stacey Abrams have assisted and acted in concert with Counter-Defendant Fair

Fight, Inc. to threaten, harass, and otherwise intimidate Counter-Plaintiffs by their

scurrilous and baseless allegations in public communications that Counter-

Plaintiffs have and are engaged in vote suppression and voter intimidation.

      146. If Section 11(b) were interpreted, as Counter-Defendants contend, to

not require any discriminatory or racial animus, Counter-Defendant Fair Fight,

Inc. and Defendants Fair Fight Action, Inc. and Stacey Abrams have intimidated

or have attempted to intimidate Counter-Plaintiffs from protecting their right to

vote in violation of Section 11(b) of the Voting Rights Act.



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                               Prayer for Relief

      WHEREFORE, Counter-Plaintiffs respectfully request that this Court enter

judgment in their favor and against Counter-Defendants and Defendants Fair Fight

Action, Inc., as follows:

      A. Enter a declaratory judgment in Counter-Plaintiffs’ favor that Counter-

Defendant Fair Fight, Inc. and Defendants Fair Fight Action, Inc. and Ms. Stacey

Abrams have violated Section 11(b) of the Voting Rights Act.

      B. Enter a permanent injunction against Counter-Defendant Fair Fight, Inc.

and Defendants Fair Fight Action, Inc. and Ms. Stacey Abrams from violating

Section 11(b) of the Voting Rights Act.

      C. Award Counter-Plaintiffs their costs, disbursements, and reasonable

attorneys’ fees incurred in bringing the action pursuant to 52 U.S.C. § 10310.

      D. Grant such other and further relief as the Court deems just and proper.




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Dated: March 26, 2021               Respectfully Submitted,

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                        Certificate of Compliance

     The undersigned counsel certifies that the foregoing has been prepared in
Times New Roman (14 point) font, as required by the Court in Local Rule 5.1(B).

      Respectfully submitted March 26, 2021.

                                     SMITH & LISS, LLC
                                     /s/ Ray S. Smith, III
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                            Certificate of Service

      I hereby certify that the foregoing document was served electronically on
March 26, 2021, upon all counsel of record via the United States District Court for
the Northern District of Georgia, electronic filing system.

                                        /s/ Ray S. Smith, III
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